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                       THE UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION

In Re:                                        §        Case No. 21-60052-CML
                                              §
                                              §
SCOTT VINCENT VAN DYKE                        §        Chapter 7
                                              §
         Debtor(s)                            §

     JOINT MOTION TO FOR AN ORDER CONDITIONALLY MODIFYING THE
       AUTOMATIC STAY TO PERMIT CERTAIN PROBATE PROCEEDINGS
                            TO CONTINUE


         This is a motion for relief from the automatic stay. If it is granted, the movants
         may act outside of the bankruptcy process. If you do not want the stay lifted,
         immediately contact the moving party to settle. If you cannot settle, you must
         file a response and send a copy to the moving party at least 7 days before the
         hearing. If you cannot settle, you must attend the hearing. Evidence may be
         offered at the hearing and the court may rule.

         Represented parties should act through their attorney. A hearing has been set
         on this matter on Tuesday, June 7, 2022, at 10:00 a.m. (prevailing central
         time). Audio communication will be by use of the Court’s dial-in facility. You
         may access the facility at 832-917-1510. You will be responsible for your own
         long-distance charges. Once connected, you will be asked to enter the
         conference room number. Judge Lopez’s conference room number is 590153.

         You may view video via GoToMeeting. To use GoToMeeting, the Court
         recommends that you download the free GoToMeeting application. To
         connect, you should enter the meeting code “JudgeLopez” in the GoToMeeting
         app or click the link on Judge Lopez’s home page on the Southern District of
         Texas website.


TO THE HONORABLE CHRISTOPHER M. LOPEZ,
UNITED STATES BANKRUPTCY JUDGE:

         Now Come Catherine Curtis, Chapter 7 Trustee for the Estate of Scott Van Dyke, and Mary

Katherine Alonso, a party in interest, and file the Joint Motion for an Order Conditionally

Modifying the Automatic Stay Pursuant to 11 U.S.C. § 362 to Permit Certain Probate Proceedings

to Continue, and would show the Court as follows:


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                                          I.
                                PRELIMINARY STATEMENT

       1.      On May 25, 2021 (the “Petition Date”), Scott VanDyke (herein the “Debtor”) filed

a voluntary Chapter 11 Petition [Dkt #1] that has since been converted to a Chapter 7 case [Dkt

#129], (the “Bankruptcy Case”) with Catherine Curtis being appointing and qualifying and is now

acting as the Chapter 7 case Trustee (herein “Trustee”). The Court has jurisdiction over this

Motion under 28 U.S.C. § 1334, which is a core proceeding within the meaning of 28 U.S.C. §

157(b)(2). Venue of this proceeding is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       A.      The Death of Debtors’ Mother

       2.      Beyond 180 days from the Petition Date, and on or about December 6, 2021, the

Debtor’s and Alonso’s Mother Mary Theresa Connelly VanDyke died and probate of her estate

has been opened in Harris County, Texas, Docket No. 501470 (the “Probate Estate”).

       B.      Alonso As the Proposed Independent Administrator

       3.      The Debtor’s sisters, including Mary Katherine Alonso, are heirs to the estate and

Alonso has filed her First Amended Application For Probate of Will (the “Application”), a true

and accurate copy of which is attached hereto as Exhibit “1”. Alonso seeks the appointment as the

Independent Administrator of the Probate Estate and seeks letters of administration confirming her

power and authority.

       4.      The Debtor has applied for appointment as the Independent Executor under and

pursuant to a Durable Power of Attorney and Living Will set out in the Application. In response,

as set out in the Application filed by Alonso, are a series of claims made by Alonso that the Debtor

has breached his fiduciary duty to his mother, to the Probate Estate, and to the family members

and is unqualified to serve in a fiduciary capacity to the Probate Estate.




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         C.    Probate Court Jurisdiction and the Automatic Stay

         5.    The probate court has jurisdiction over Probate Estate property and the handling of

the Probate Estate’s property, subject in part to the application of the automatic stay arising upon

the Debtor’s filing of his Bankruptcy Case, as well as the rights of the Bankruptcy Trustee to

property of the Bankruptcy Estate. Likewise, the Probate Court has exclusive jurisdiction to

administer the Probate Estate but desires that the Trustee and Alonso obtain modification of the

automatic stay to allow the determination of all issues of probate and the right and entitlement of

probate-related parties, to be determined by the Probate Court. Issues as to whether certain assets

are property of the Bankruptcy Estate will remain in the exclusive jurisdiction of the Bankruptcy

Court.

         D.    The Parties’ Desire To Proceed in the Probate Court Subject to Conditions

         6.    Alonso seeks to modify the automatic stay which may be applicable to all

proceedings by the parties in the Probate Court and to allow her to proceed in the Probate Court

and to preserve all rights and claims to any interest of the Debtor in and to the Probate Estate,

Probate Estate Property, or liability to the Probate Estate, subject to the conditions of the proposed

Agreed Order Modifying the Stay agreed to by the Trustee and Alonso and filed with this Motion,

subject to the Bankruptcy Court’s exclusive jurisdiction over property of the Bankruptcy Estate.

         7.    The Trustee also seeks by this motion to preserve all claims of the Chapter 7

Bankruptcy Estate against the Debtor or against any assets of the Estate that may comprise, in

whole or in part, property of the Estate in the Bankruptcy Case, particularly in the event it is shown

that the Debtor is liable to the Chapter 7 Estate through mishandling or defalcation while acting

on behalf of his mother or her property and while the Debtor was also acting as a Debtor in

Possession and Debtor in the pending Bankruptcy Cases. The Trustee also seeks to preserve all




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claims, if any, against the Debtor for any avoidance or other actions or rights the Trustee may have

to recover from the Debtor or for the Debtor’s conduct or misconduct or defalcation occurring

within two years of the filing of the Bankruptcy Cases.

       E       The Debtor’s Estate Interest and Possession of Estate Property

       8.      The Debtor has an interest in the Probate Estate as an heir. On information and

belief, the Debtor likewise had and should have significant assets of the Probate Estate or proceeds

from his unauthorized sale of Probate Estate assets or opportunities of the Probate Estate, all of

which Alonso will seek to have sequestered or made subject to a Probate Court mandatory

injunction prohibiting the Debtor from hiding or secreting those assets, pending resolution of the

Estate’ interest and the Probate Court orders protecting the Probate Estate and remaining assets.

                                             II.
                                     RELIEF REQUESTED

       9.      Both the Trustee and Alonso seek to reach a resolution of claims of both the Probate

Estate and Bankruptcy Estate as to assets either held by or owned by the Debtor and to seek a

prompt liquidation of such assets utilizing the appropriate tribunal. To that end, both the Trustee

and Alonso seek an order of this Court modifying the automatic stay, to the extent the stay is

applicable, allowing the Probate Court, and all parties to pursue their rights and obtain any and all

remedies and relief available in the Probate proceeding of the Probate Estate against: (i) the Debtor

or the Debtor’s rights or interest in the Probate Estate or the Probate Estate’s property; or (ii) the

Debtor’s liability to the Probate Estate or to Alonso or to the Bankruptcy Trustee, to the extent that

the Debtor is found to have any interest, tangible or intangible, in any of the Probate Estate’s

property.

       10.     Both the Trustee and Alonso further agree, however, that the disposition of any

interest, if any, found to belong to the Debtor in or to the Probate Estate or in or to any Probate



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Estate Property, and to the extent the Trustee makes a claim thereto, shall be fully preserved to

determination by the Bankruptcy Court as between the Bankruptcy Estate and any adverse or

competing claim of Alonso to such interests of the Debtor. The Trustee and Alonso further agree

that this determination of competing interest shall be promptly brought by the Trustee in, and

determined exclusively by, the United States Bankruptcy Court.

       11.     The parties incorporate herein the terms of the proposed order submitted with this

Motion.

       WHEREFORE, the Debtors respectfully request that the Court enter an order, substantially

in the form as filed with this Motion, (a) granting the Motion granting the Joint Motion to Modify

the Automatic Stay, (b) conditionally lift the stay to allow the probate court to proceed to determine

the rights and interests of the Debtor, and (c) specifically reserving to the Trustee and this

Bankruptcy estate the determination of the rights of parties as to any interests of the Debtor

determined in the Estate, and as between Alonso, the Trustee and the Debtor.

Dated: May 6, 2022

                                                        Respectfully submitted,

                                                        /s/ Shelby A. Jordan
                                                        SHELBY A. JORDAN
                                                        State Bar No. 11016700
                                                        S.D. No. 2195
                                                        ANTONIO ORTIZ
                                                        State Bar No. 24074839
                                                        S.D. No. 1127322
                                                        Jordan & Ortiz, P.C.
                                                        500 North Shoreline Blvd., Suite 900
                                                        Corpus Christi, TX 78401
                                                        Telephone: (361) 884-5678
                                                        Facsimile: (361) 888-5555
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                                                                aortiz@jhwclaw.com
                                                        Copy to: cmadden@jhwclaw.com
                                                        Attorney for Mary Katherine Alonso



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                                                       /s/ Lynn Hamilton Butler
                                                       Lynn Hamilton Butler
                                                       Hush Blackwell LLP
                                                       111 Congress Avenue, Suite 1400
                                                       Austin, TX 78701
                                                       Telephone: (512) 479-9758
                                                       Facsimile: (512) 226-7318
                                                       Email: lynn.butler@huschblackwell.com
                                                       Attorney for Catherin Stone Curtis, Chapter
                                                       7 Trustee


                             CERTIFICATE OF CONFERENCE

On May 4, 2022, an effort was made to confer with Susan Tran, Chapter 7 Debtor’s counsel. Ms.
Tran was not available until May 8, 2022. Accordingly, this Motion is considered Opposed.

                                              /s/ Shelby A. Jordan
                                              Shelby A. Jordan

                                CERTIFICATE OF SERVICE

I hereby certify that on May 6, 2022, a true and correct copy of the foregoing Motion for Relief
From Stay was served to the parties on the attached service list by United States mail, first class,
postage prepaid or via CM/ECF to all parties who are authorized to receive electronic notice in
this case.

                                              /s/ Shelby A. Jordan
                                              Shelby A. Jordan




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Label Matrix for local noticing              Forest Home Plantation, LLC                Harris County, et al.
0541-6                                       c/o Leann O. Moses                         Linebarger Goggan Blair & Sampson LLP
Case 21-60052                                1100 Poydras Street                        c/o John P. Dillman
Southern District of Texas                   Suite 3100                                 P.O. Box 3064
Victoria                                     New Orleans, LA 70163-1102                 Houston, TX 77253-3064
Tue May 3 13:23:19 CDT 2022
Henke, Williams & Boll, LLP                  6                                          AmeriCredit/GM Financial
2929 Allen Parkway, Suite 3900               United States Bankruptcy Court             Attn: Bankruptcy
Houston, TX 77019-7125                       PO Box 61010                               PO Box 183853
                                             Houston, TX 77208-1010                     Arlington, TX 76096-3853


(p)PNC BANK RETAIL LENDING                   Bank of America                            Big Tex Storage
P O BOX 94982                                4909 Savarese Circle FL1-908-01-50         3480 Ella
CLEVELAND OH 44101-4982                      Tampa, FL 33634-2413                       Houston Texas 77018-6136



Builders West Inc.                           Cadence/Superior Bank                      Central Portfolio Control
8905 Friendship,                             Operations Center                          Attn: Bankruptcy Attn: Bankruptcy
Houston, Texas 77080-4111                    Birmingham, AL 35203                       10249 Yellow Circle Dr , Ste 200
                                                                                        Minnetonka, MN 55343-9111


(p)JPMORGAN CHASE BANK N A                   Citibank                                   City of Houston Public Works
BANKRUPTCY MAIL INTAKE TEAM                  Citicorp Credit Srvs/Centralized Bk dept   Attn: Effie Green
700 KANSAS LANE FLOOR 01                     PO Box 790034                              4200 Leeland
MONROE LA 71203-4774                         St Louis, MO 63179-0034                    Houston, TX 77023-3016


(p)ECHELON ANALYTICS                         Encore Bank                                Harris County et al.
ATTN MALINDA PISCIOTTA                       Nine Greenway Plaza                        c/o John P. Dillman
1717 MAIN STREET                             Houston, TX 77046-0905                     Linebarger Goggan Blair & Sampson LLP
STE 3380                                                                                P.O. Box 3064
DALLAS TX 75201-7364                                                                    Houston, TX 77253-3064

Henke, Williams & Boll, LLP                  JPMorgan Chase Bank, N.A.                  Johns & Hebert PLLC f/k/a Johns & Counsel PL
2929 Allen Parkway, Suite 3900               s/b/m/t Chase Bank USA, N.A.               2028 East Ben White Boulevard, Suite 240
Houston, Texas 77019-7125                    c/o Robertson, Anschutz & Schneid, P.L.    Austin, Texas 78741-6931
                                             6409 Congress Avenue, Suite 100
                                             Boca Raton, FL 33487-2853

(p)LIBERTAS FUNDING LLC                      Michael L. Noel                            (p)PHOENIX FINANCIAL SERVICES LLC
411 WEST PUTNAM ST                           12222 Taylorcrest                          PO BOX 361450
SUITE 220                                    Houston, TX 77024-4247                     INDIANAPOLIS IN 46236-1450
GREENWICH CT 06830-6295


(p)TMX FINANCE LLC FORMERLY TITLEMAX         US Trustee                                 Wells Fargo Bank N.A., d/b/a Wells Fargo Aut
15 BULL STREET                               Office of the US Trustee                   PO Box 130000
SUITE 200                                    515 Rusk Ave                               Raleigh, NC 27605-1000
SAVANNAH GA 31401-2686                       Ste 3516
                                             Houston, TX 77002-2604

Wells Fargo Dealer Services                  Brendon D Singh                            Catherine Stone Curtis
Attn: Bankruptcy 1100 Corporate Center D     Tran Singh, LLP                            Pulman, Cappuccio & Pullen, LLP
Raleigh, NC 27607-5066                       2502 La Branch Street                      P.O. Box 720788
                                             Houston, TX 77004-1028                     McAllen, TX 78504-0788
                          Case 21-60052 Document 168 Filed in TXSB on 05/06/22 Page 8 of 9
Eva S. Engelhart, Chapter 7 Trustee                  Reese Baker                                          Scott Vincent Van Dyke
7700 San Felipe, Suite 550                           950 Echo Lane, Suite 300                             1515 South Boulevard
Houston, TX 77063-1618                               Houston, TX 77024-2824                               Houston, TX 77006-6335



Susan Tran Adams
Tran Singh LLP
2502 La Branch Street
Houston, TX 77004-1028




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


BBVA Compass                                         Chase Auto Finance                                   (d)Chase Card Services
Attn: Bankruptcy                                     P.O. Box 78101                                       Attn: Bankruptcy
PO Box 10566                                         Phoenix, AZ 85062                                    PO Box 15298
Birmingham, AL 35296                                                                                      Wilmington, DE 19850


Echelon Analytics, LLC                               Libertas Funding LLC                                 Phoenix Financial Services, LLC
1717 Main St Ste 3380                                382 Greenwich Ave, Ste 2                             Attn: Bankruptcy
Dallas, TX 75201                                     Greenwich, CT 06380                                  PO Box 361450
                                                                                                          Indianapolis,, IN 46236


Titlemax of Texas
15 Bull St Ste 200
Savannah, GA 31401-2686




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Anzar Settlement Funding Corp.                    (u)Builders West, Inc.                               (u)Cadence Bank, N.A.




(u)Littlemill Limited                                (u)Philadelphia Indemnity Insurance Company          (u)Prosperity Settlement Funding, Inc.




(u)Andrea Lore, Individually and in Her Capac        (du)Anzar Settlement Funding Corp.                   (u)Cadence Bank
                           Case 21-60052 Document 168 Filed in TXSB on 05/06/22 Page 9 of 9
(u)Eva S. Engelhart, in Capacity as Chapter 7   (du)Littlemill Limited         (du)Philadelphia Indemnity Insurance Company




(du)Prosperity Settlement Funding, Inc.         (u)Andrea Lore                 (u)Michael L. Noel




End of Label Matrix
Mailable recipients   33
Bypassed recipients   15
Total                 48
